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                  EXHIBIT F
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From: Palmiere, Samuel (USANYW) <Samuel.Palmiere@usdoj.gov>
Date: Fri, Jun 2, 2023, 3:34 PM
Subject: FW: [EXTERNAL] Fwd: Introduction
To: michael.dubois@gocayuga.com <michael.dubois@gocayuga.com>



The guidance from my office is not to meet with you at this time. Our meeting could be misconstrued
that we are taking sides in the situation, we cannot meet with either side until there is clarification of
leadership in the Cayuga’s. Mike, I hope this gets resolved soon!




Samuel M. Palmiere

Law Enforcement Coordinator

U.S. Attorney’s Office

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